         Case 1:22-cr-00238-TNM Document 20 Filed 03/22/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
     Plaintiff,                              )
                                             )        Case No.: 21-MJ-00657
       vs.                                   )
                                             )        Colorado Case No. 21-MJ-00196-NYW
LISA ANN HOMER                               )
a/k/a LISA ANNE BOISSELLE                    )
                                             )
       Defendant.                            )


                               APPEARANCE OF COUNSEL



To:    The Clerk of Court and all parties of record

       I am admitted pro hac vice and authorized to practice in this Court. I enter my

appearance as counsel for Lisa Anne Boisselle.

       Dated this 22nd day of March, 2022.

                                             Respectfully submitted,



                                             /s/ David Chambers
                                             David Chambers, (CO Bar #50270)
                                             Viorst Law Offices, PC
                                             950 South Cherry Street, Suite 300
                                             Denver, CO 80246
                                             david@viorstlaw.com
                                             (303) 759-3808
         Case 1:22-cr-00238-TNM Document 20 Filed 03/22/22 Page 2 of 2




                                  CERTIFICATE OF SERVICE

         I certify that on 22nd day of March, 2022, I caused a copy of the foregoing Motion to be
filed with the Clerk using the CM/ECF System which will send notification of this filing to all
parties.

Jaqueline Schesnol, Esq.
United States Attorney's Office
jschesnol@usa.doj.gov



                                            /s/ Michelle Spadavecchia




                                               2
